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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  19 Civ. 9236 (KPF)
TETHER AND BITFINEX CRYPTO                                   ORDER
ASSET LITIGATION

KATHERINE POLK FAILLA, District Judge:

         The Court is in receipt of the letter of Defendants Bittrex, Inc. and

Poloniex, LLC (the “Exchange Defendants”) seeking a pre-motion conference to

discuss their proposed partial motion for summary judgment, and their

requests for limited discovery pending resolution of that motion and a strict

Attorneys’ Eyes Only (“AEO”) designation for materials concerning the

anonymous arbitrage trader implicated by the same. (Dkt. #188). The Court

has also received Plaintiffs’ letter in opposition to these requests. (Dkt. #191).

         First, as discussed below, the Court does not believe that a conference is

necessary to resolve the instant requests. Accordingly, the Exchange

Defendants’ request for a pre-motion conference is DENIED.

         Second, with respect to the Exchange Defendants’ request for limited

discovery pending resolution of their motion for summary judgment, the Court

agrees with Plaintiffs that the contemplated motion does not portend to dispose

entirely the claims against the Exchange Defendants and that limited discovery

would thus unduly delay resolution of this case. Accordingly, the Court

DENIES the Exchange Defendants’ request for limited discovery.

         Third, regarding the confidentiality issues raised by the Exchange

Defendants, the Court is cognizant of both the anonymous trader’s privacy
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concerns, as well as the hindrance that a strict AEO designation of materials

concerning this individual would pose to Plaintiffs. To mediate this tension,

the Court hereby ORDERS that all materials related to the anonymous trader

shall be treated as strictly AEO in the first instance. To be clear, this means

that any materials related to the anonymous trader produced during discovery

shall initially be restricted to Plaintiffs’ counsel and may not be shared with

client representatives or expert witnesses. If Plaintiffs’ counsel wishes to share

such materials with non-attorneys, Plaintiffs must first seek the Court’s leave,

including by specifying which individuals will receive this information. The

parties are encouraged to propose additional protocols to resolve future

requests for the sharing of such sensitive information with non-attorneys.

      Lastly, the Court will resolve the remaining issues with the parties’

proposed case management plan. In light of the foregoing denial of the

Exchange Defendants’ request for limited discovery, the Court will not endorse

the phased discovery proposal included in Defendants’ proposed case

management plan. (See Dkt. #193-2 at ¶ 6(e)). Moreover, the Court will permit

Plaintiffs 19 months to submit their motion for class certification. (See

generally Dkt. #193). As Plaintiffs’ proposed case management plan best

comports with the Court’s rulings, the Court will endorse their plan under

separate cover.

      The Clerk of Court is directed to terminate the pending motion at docket

entry 188.




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    SO ORDERED.

Dated: November 22, 2021
       New York, New York

                                         KATHERINE POLK FAILLA
                                        United States District Judge




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